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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


UNITED STATES OF AMERICA,                     )
          Plaintiff,                          )
                                              )
       vs.                                    )   CAUSE NO. 1:18-mj-0198
                                              )
ZACHARY BALLINGER,                            )                     - 01
         Defendant.                           )



                 COURTROOM MINUTE FOR MARCH 16, 2018
             HONORABLE MARK J. DINSMORE, MAGISTRATE JUDGE

       The parties appeared for an initial appearance on the Complaint filed on March 2, 2018.

Defendant appeared in person and by FCD counsel Michael Donahoe. Government

represented by AUSA Kristina Korobov. USPO represented by Danieka Thompkins.

       Government orally moved to unseal this cause of action and the same granted.

       Financial affidavit approved. Counsel appointed.

       Charges, rights and penalties were reviewed and explained. Defendant waived reading

of the Complaint.

       Defendant orally waived his right to a preliminary hearing in open court and probable

cause was found.

       Government orally moved for pretrial detention and a hearing was scheduled.

Detention hearing set for March 21, 2018 at 9:00 a.m. in courtroom 270.

       Defendant remanded to the custody of the U.S. Marshal pending further proceedings

before the Court.

       Date: 16 MAR 2018
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